Case 3:17-cv-00497-MHL-RCY Document 16 Filed 10/05/18 Page 1 of 1 PageID# 98




                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Richmond Division


SUNDARI K.PRASAD,

       Plaintiff,
V.                                                                    Civil Action No.3:17CV497

MI BOCA LATINA,et ai.

       Defendants.


                                              ORDER


       In accordance with the accompanying Memorandum Opinion, it is hereby ORDERED

that the action is DISMISSED WITHOUT PREJUDICE. Prasad's Motion to Amend(ECF

No. 12)is DENIED.

       Should Prasad desire to appeal, a written notice of appeal must be filed with the Clerk of

the Court within thirty(30)days ofthe date of entry hereof. Failure to file a notice of appeal

within that period may result in the loss of the ability to appeal.

       The Clerk is DIRECTED to send a copy of the Memorandum Opinion and Order to

Prasad.

          And it is so ORDERED.



                                                                      /s/
                                                       M. Hannah Lauck
       ^       ^^    ^                                 United States District Judge
Date: OCT 05 2018
Richmond, Virginia
